
659 S.E.2d 435 (2008)
Charles Ray BILLINGS, Employee
v.
GENERAL PARTS, INC., Employer.
Zurich American, Carrier
Gab Robins, Administering Agent.
No. 29P08.
Supreme Court of North Carolina.
March 6, 2008.
Michael C. Sigmon, Cary, James A. Barnes, IV, Birmingham, AL, for General Parts, et al.
E. Neil Morris, Sanford, for Billings.
Prior report: ___ N.C.App. ___, 654 S.E.2d 254.

ORDER
Upon consideration of the petition filed by Defendants on the 22nd day of January 2008 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 6th day of March 2008."
Upon consideration of the petition filed on the 22nd day of January 2008 by Defendants in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 6th day of March 2008."
